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           Attachment 1
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    Column 1                  Column 2                                   Column 3                                                       Column 4
    School Ownership Group    Categories of Applications Determined      All other applications are pending further review of           Relevant final determinations made by
    (School Name)             Not to be Within the Scope of the          Common Evidence (i.e., relevant underlying evidence in the     the Department, an accreditor, or
                              Common Evidence listed in Column 3:        Department’s possession) including from the following          other entity 2 that the school made
                                                                         sources: 1                                                     misrepresentations or engaged in
                                                                                                                                        fraudulent conduct for which
                                                                                                                                        borrower defense relief may be
                                                                                                                                        granted:
    Apollo Group, Inc         •Borrowers who enrolled after              •Federal Trade Commission (FTC)                                •In a letter dated March 9, 2020, the
    (University of Phoenix)   10/1/2012 and do not make allegations      •IA Attorney General’s Office                                  Department of Veterans Affairs (VA)
                              relating to partnerships with large        •Evidence obtained by the Department in conjunction with       concluded that “there is sufficient
                              companies or programmatic                  its regular oversight activities                               evidence to support a finding” that
                              accreditation.                             •Publicly available records relating to US ex rel. Green v.    UOP falsely advertised corporate
                              •Borrowers who enrolled before             Univ. of Phoenix, No. 14 001654 (N.D. Oh. Apr. 29, 2019)       partnerships beginning in 2012.
                              10/1/2012 and do not make allegations      •Materials compiled by non-profit group, Veterans
                              relating to certain military recruitment   Education Success (VES)
                              conduct.                                   •Publicly available securities filings made by University of
                                                                         Phoenix’s parent company, Apollo Education Group




1
 The Department also will consider evidence received from schools if provided.
2
 Allegations, complaints, investigations, and settlements are not included in this column. However, where evidence from an investigation or lawsuit was provided to the
Department, the source is included in the common evidence identified in the third column.
                                                                                         1
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Column 1                 Column 2                                    Column 3                                                     Column 4
School Ownership Group   Categories of Applications Determined       All other applications are pending further review of         Relevant final determinations made by
(School Name)            Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                         Common Evidence listed in Column 3:         Department’s possession) including from the following        other entity 2 that the school made
                                                                     sources: 1                                                   misrepresentations or engaged in
                                                                                                                                  fraudulent conduct for which
                                                                                                                                  borrower defense relief may be
                                                                                                                                  granted:
Bridgepoint Inc./Zovio   Applications that do not fit the criteria   •IA Attorney General’s Office                                None.
(Ashford University)     below:                                      •CA Attorney General’s Office
                                                                     •Evidence obtained by the Department in conjunction with
                         •Borrowers who enrolled between             its regular oversight activities
                         January 1, 2005 and April 8, 2016 and
                         allege they were informed credits
                         would transfer in to Ashford from
                         another college and those credits did
                         not transfer; or
                         •Borrowers who enrolled between July
                         1, 2007 and May 15, 2014 and allege
                         they were told they would be eligible to
                         become a teacher in any state.




                                                                                    2
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Column 1                      Column 2                                    Column 3                                                     Column 4
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(School Name)                 Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                              Common Evidence listed in Column 3:         Department’s possession) including from the following        other entity 2 that the school made
                                                                          sources: 1                                                   misrepresentations or engaged in
                                                                                                                                       fraudulent conduct for which
                                                                                                                                       borrower defense relief may be
                                                                                                                                       granted:
Career Education Corp.        Applications that do not fit the criteria   • NY Attorney General’s Office                               None.
(Katherine Gibbs School,      below:                                      • PA Attorney General’s Office
Lehigh Valley College,                                                    • Evidence obtained by the Department in conjunction with
McIntosh College, Brooks      All schools:                                its regular oversight activities
College, Washington           •Borrowers who make allegations             • Publicly available securities filings made by Career
Business School,              regarding programmatic accreditation.       Education Corporation (now known as Perdoceo Education
Allentown Business                                                        Corporation)
School, Harrington            Western School of Health and Business       • Multi-State Attorney General Assurance of Voluntary
College of Design, School     or Pittsburgh Career Institute:             Compliance (effective January 2, 2019)
of Computer Technology,       •Borrowers who enrolled between May
Missouri College, Al          1, 1999 and May 22, 2004.
Collins Graphic Design
School, Brown College,        Brooks Institute of Photography, Collins
Brown Institute, Orlando      College, IADT campuses (at Chicago,
Culinary Academy,             Detroit, Las Vegas, Nashville, Online,
Southern California           Orlando, Sacramento, San Antonio,
School of Culinary Arts,      Schaumburg, Seattle, Tampa), or
Pennsylvania Culinary         SBC/SBI campuses (at Ft. Lauderdale,
Institute, California         Iselin, Jacksonville, Landover, Tampa, or
Culinary Academy,             Trevose):
California School of          •Borrowers who enrolled between
Culinary Arts, Cooking and    September 16, 2010 and September
Hospitality Institute of      16, 2011 and make job placement or
Chicago, Scottsdale           employment allegations.
Culinary Institute, Texas
Culinary Academy,             Brooks Institute of Photography, Brown
Kitchen Academy, Le           College in Mendota Heights, Missouri
Cordon Bleu College of        College, IADT campuses (at Chicago,
Culinary Arts, Le Cordon      Detroit, Las Vegas, Nashville, Online,
Bleu Institute of Culinary    Orlando, Sacramento, San Antonio,
Arts, Le Cordon Bleu          Schaumburg, Seattle, or Tampa), Le
College of Culinary Arts in   Cordon Blue campuses (at Atlanta,
Chicago, Western Culinary     Boston, Los Angeles/Hollywood, Las

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Column 1                    Column 2                                    Column 3                                                     Column 4
School Ownership Group      Categories of Applications Determined       All other applications are pending further review of         Relevant final determinations made by
(School Name)               Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                            Common Evidence listed in Column 3:         Department’s possession) including from the following        other entity 2 that the school made
                                                                        sources: 1                                                   misrepresentations or engaged in
                                                                                                                                     fraudulent conduct for which
                                                                                                                                     borrower defense relief may be
                                                                                                                                     granted:
Institute, Pittsburgh       Vegas, Miami, Scottsdale, San
Career Institute            Francisco), California Culinary
Western School of Health    Academy, Collins College, SBC/SBI
and Business Careers,       campuses (at Ft. Lauderdale, Iselin,
American                    Jacksonville, Landover, Tampa, Trevose,
InterContinental            Cranston, or Wilkins Township):
University (“AIU”),         •Borrowers who enrolled between
Briarcliffe College, SBI    September 16, 2011 and September
Campus - an affiliate of    16, 2012 and make job placement or
Sanford-Brown, Brooks       employment allegations.
Institute of Photography,
Collins College, Colorado   AIU, CTU, Briarcliffe College, SBC/SBI
Technical University        campuses (in New York, Melville,
(“CTU”), Sanford-Brown      Garden City, or White Plains):
College (“SBC”), Sanford-   •Borrowers who enrolled between July
Brown Institute (“SBI”),    1, 2009 and June 30, 2012 and make
Ultrasound Diagnostic       job placement or employment
Schools, Katharine Gibbs    allegations.
School, Gibbs College,
International Academy of
Design and Technology
(“IADT”))

Concorde Career Colleges    Applications that do not fit the criteria   •Evidence obtained by the Department in conjunction with     None.
(Concord Career Colleges)   below:                                      its regular oversight activities.
                            •Borrowers who enrolled in the
                            Respiratory Therapy program before
                            July 31, 2017.




                                                                                       4
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Column 1                   Column 2                                  Column 3                                                     Column 4
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(School Name)              Not to be Within the Scope of the         Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                           Common Evidence listed in Column 3:       Department’s possession) including from the following        other entity 2 that the school made
                                                                     sources: 1                                                   misrepresentations or engaged in
                                                                                                                                  fraudulent conduct for which
                                                                                                                                  borrower defense relief may be
                                                                                                                                  granted:
Corinthian Colleges Inc.   All Corinthian applications are cleared   NA                                                           •In 2015 the Department found that
(Everest, Heald,           for adjudication. All categories of                                                                    CCI misrepresented its job placement
WyoTech)                   Corinthian claims applications have                                                                    rates.
                           review protocols, and there are no
                           categories of applications pending                                                                     •In 2016 the Department found that
                           further review.                                                                                        CCI misrepresented employment
                                                                                                                                  prospects.

                                                                                                                                  •In 2016 the Department found that
                                                                                                                                  CCI misrepresented the ability to
                                                                                                                                  transfer credits.




                                                                                    5
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Column 1                 Column 2                                Column 3                                                     Column 4
School Ownership Group   Categories of Applications Determined   All other applications are pending further review of         Relevant final determinations made by
(School Name)            Not to be Within the Scope of the       Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                         Common Evidence listed in Column 3:     Department’s possession) including from the following        other entity 2 that the school made
                                                                 sources: 1                                                   misrepresentations or engaged in
                                                                                                                              fraudulent conduct for which
                                                                                                                              borrower defense relief may be
                                                                                                                              granted:
Delta CEC (McCann,       McCann, Miller-Motte Technical          •Evidence obtained by the Department in conjunction with     None.
Miller-Motte Technical   College:                                its regular oversight activities
College, Miami Jacobs)   •Borrowers who were not enrolled in
                         the medical lab technician program.

                         Miami Jacobs:
                         •Borrowers who were not enrolled in
                         the Licensed Practical Nurse program
                         at the Dayton, Troy, and Springboro
                         campuses.

                         Academy Court Reporting:
                         •All applications.




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Column 1                    Column 2                                     Column 3                                                     Column 4
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(School Name)               Not to be Within the Scope of the            Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                            Common Evidence listed in Column 3:          Department’s possession) including from the following        other entity 2 that the school made
                                                                         sources: 1                                                   misrepresentations or engaged in
                                                                                                                                      fraudulent conduct for which
                                                                                                                                      borrower defense relief may be
                                                                                                                                      granted:
DeVry (DeVry University,    For DeVry University, DeVry Institute of     •Evidence obtained by the Department in conjunction with     •None. However, we will consider the
DeVry College of            Technology, DeVry College of                 its regular oversight activities                             Department’s 2016 Notice of Intent to
Technology, DeVry           Technology:                                  •Federal Trade Commission (FTC)                              Limit which concluded that DeVry
Institute of Technology,    All applications from:                                                                                    “failed to meet the substantiation
Chamberlain University,     • Borrowers who enrolled before 2008;                                                                     requirement” with respect to the
Keller Graduate School of   • Borrowers who enrolled after 2015;                                                                      Since 1975 placement rate
Management, Ross            or                                                                                                        representation made in
University School of        • Borrowers who enrolled between                                                                          advertisements between at least
Veterinary Medicine, Ross   2008 and 2015 and did not make a job                                                                      February 2008 and January 23, 2014.
University School of        placement rate or employment
Medicine, Carrington        prospects allegation.
College, American
University of the           For Keller Graduate School of
Caribbean School of         Management:
Medicine)                   •All applications, with the exception of
                            31 borrowers involved in ongoing
                            litigation (Luis Rangel, et al. v. Adtalem
                            Global Education, Inc. and DeVry
                            University, Inc.).

                            For all other DeVry brands:
                            •All applications.




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(School Name)             Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                          Common Evidence listed in Column 3:         Department’s possession) including from the following        other entity 2 that the school made
                                                                      sources: 1                                                   misrepresentations or engaged in
                                                                                                                                   fraudulent conduct for which
                                                                                                                                   borrower defense relief may be
                                                                                                                                   granted:
ECA College (Brightwood   Applications that do not fit the criteria   •Evidence obtained by the Department in conjunction with     •In 2018, there were accreditor
College, Brightwood       below:                                      its regular oversight activities.                            findings that thirty-one of thirty-three
Career Institute (post    •Borrowers who enrolled after May 1,        •MD Attorney General’s Office.                               campuses failed to meet the required
09/30/2015), Virginia     2018 at Sacramento, Towson, or              •Materials compiled by ECA’s accreditor, the Accrediting     completion and job placement
College)                  Baltimore campus and make a transfer        Council for Independent Colleges and Schools (ACICS).        benchmarks.
                          of credits allegation;                      •Materials compiled by the Accrediting Council for
                          •Borrowers who enrolled after January       Continuing Education and Training (ACCET).
                          25, 2018 at a Laredo campus and make        •Interviews with former employees.
                          an educational services allegation;
                          •Borrowers who enrolled after January
                          10, 2018 at a Jackson campus, and
                          make an educational services
                          allegation; or
                          •Borrowers who enrolled after
                          February 1, 2018 at a Biloxi campus and
                          make an educational services
                          allegation.




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    Column 1                    Column 2                                  Column 3                                                       Column 4
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    (School Name)               Not to be Within the Scope of the         Common Evidence (i.e., relevant underlying evidence in the     the Department, an accreditor, or
                                Common Evidence listed in Column 3:       Department’s possession) including from the following          other entity 2 that the school made
                                                                          sources: 1                                                     misrepresentations or engaged in
                                                                                                                                         fraudulent conduct for which
                                                                                                                                         borrower defense relief may be
                                                                                                                                         granted:
    Education Management        Argosy                                    •CO Attorney General’s Office                                  None.
    Corporation 3 (Argosy       •Borrowers who did not attend a           •IA Attorney General’s Office
    University, South           masters or doctorate level psychology     •IL Attorney General’s Office
    University, Brown Mackie,   program.                                  •PA Attorney General’s Office
    The Art Institutes,                                                   •Evidence obtained by the Department in conjunction with
    Western State University    The Art Institutes                        its regular oversight activities
    College of Law)             •Borrowers who enrolled before            •First, Second and Third Annual Reports of the Settlement
                                January 1, 2009 and on or after January   Administrator under the Consent Judgments with EDMC
                                1, 2016.                                  •Senate Hearing Testimony of EDMC career services adviser
                                                                          before the Committee on Health, Education, Labor, and
                                Brown Mackie                              Pensions (September 30, 2010)
                                •Borrowers who enrolled before            •Materials, including publicly available securities filings,
                                January 1, 2009 and on or after January   prepared by Education Management Corporation
                                1, 2016.

                                South University
                                •Borrowers who did not attend a
                                nursing program in 2009.

                                Western State University College of
                                Law
                                All applications are cleared for
                                adjudication.




3
 The Department is considering Dream Center’s ownership of former EDMC schools separately from the EMDC ownership period and is still in the process of reviewing the
common evidence related to Dream Center. No Dream Center applications have been cleared for adjudication.

                                                                                         9
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Column 1                       Column 2                                  Column 3                                                     Column 4
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(School Name)                  Not to be Within the Scope of the         Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                               Common Evidence listed in Column 3:       Department’s possession) including from the following        other entity 2 that the school made
                                                                         sources: 1                                                   misrepresentations or engaged in
                                                                                                                                      fraudulent conduct for which
                                                                                                                                      borrower defense relief may be
                                                                                                                                      granted:
ITT Technical Institute (ITT   •Borrowers who enrolled prior to          •Consumer Financial Protection Bureau (CFPB)                 •January 1, 2017, finding by the
Technical Institute)           January 1, 2005;                          •Evidence obtained by the Department in conjunction with     Department that ITT misrepresented
                               •Borrowers who enrolled in a California   its regular oversight activities                             to borrowers who attended in
                               campus on or after January 1, 2005 and    •IA Attorney General’s Office                                California that ITT would promise,
                               alleged an employment prospect            •MA Attorney General’s Office                                guarantee, or otherwise assure job
                               misrepresentation; or                     •NM Attorney General’s Office                                placement following graduation.
                               •Borrowers who enrolled on or after       •Transcript of Testimony of ITT Tech Recruiter before the
                               January 1, 2005 and only alleged          National Advisory Council on Institutional Quality and       •In 2016, ITT’s accreditor ACICS issued
                               misrepresentations related to             Integrity (NACIQI) (June 23, 2016).                          a show-cause directive concerning
                               educational services and/or program       •Materials compiled by ITT Tech’s accreditor, the            ITT’s incorrect method of calculating
                               costs.                                    Accrediting Council for Independent Colleges and Schools     job placement rates. The Department
                                                                         (ACICS).                                                     subsequently placed ITT on
                                                                         •Materials compiled by non-profit group, ---Veterans         heightened cash monitoring status,
                                                                         Education Success (VES).                                     level 2.
                                                                         •Materials prepared by ITT Educational Services, Inc.




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Column 1                      Column 2                                    Column 3                                                     Column 4
School Ownership Group        Categories of Applications Determined       All other applications are pending further review of         Relevant final determinations made by
(School Name)                 Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                              Common Evidence listed in Column 3:         Department’s possession) including from the following        other entity 2 that the school made
                                                                          sources: 1                                                   misrepresentations or engaged in
                                                                                                                                       fraudulent conduct for which
                                                                                                                                       borrower defense relief may be
                                                                                                                                       granted:
JTC Education Inc.            Applications that do not fit the criteria   •Evidence obtained by the Department in conjunction with     •In 2016, the Department found that
(Gwinnett College,            below:                                      its regular oversight activities                             MedTech made numerous
MedTech College, Radians                                                                                                               misrepresentations to its accreditor,
College)                      Borrowers enrolled in the following six                                                                  to the Department, and to the public
                              programs and make a job placement,                                                                       regarding job placement rates of its
                              employment prospects, or job                                                                             graduates.
                              placement rate allegation:
                              •Falls Church, VA (02588900) Medical
                              Assistant diploma program;
                              •Silver Spring, MD (02588902) Medical
                              Assistant diploma program;
                              •Silver Spring, MD (02588902) Medical
                              Insurance Billing and Coding diploma
                              program;
                              •Washington, D.C. (02588904) Medical
                              Assistant associate of applied science
                              program;
                              •Atlanta, GA (03804400) Medical
                              Assistant associate program;
                              •Tucker, GA (03804402) Medical
                              Assistant diploma program.
Kaplan Inc. (CHI Institute,   •Borrowers who did not attend in MA,        •MA Attorney General’s Office                                None.
Kaplan Career Institute,      TX or PA.                                   •FL Attorney General’s Office
Kaplan College, Kaplan                                                    •Department of Justice – Western District of Texas
University)                                                               (Coleman Settlement)
                                                                          •USAO For Eastern District of Pennsylvania
                                                                          •Evidence obtained by the Department in conjunction with
                                                                          its regular oversight activities




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Column 1                      Column 2                                    Column 3                                                         Column 4
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(School Name)                 Not to be Within the Scope of the           Common Evidence (i.e., relevant underlying evidence in the       the Department, an accreditor, or
                              Common Evidence listed in Column 3:         Department’s possession) including from the following            other entity 2 that the school made
                                                                          sources: 1                                                       misrepresentations or engaged in
                                                                                                                                           fraudulent conduct for which
                                                                                                                                           borrower defense relief may be
                                                                                                                                           granted:
Laureate (Walden)             •Borrowers who did not make                 •Evidence obtained by the Department in conjunction with         None.
                              allegations regarding delays to program     its regular oversight activities
                              completion once enrolled in the thesis,
                              Knowledge Area Module (KAM), and/or
                              dissertation courses.
Lincoln Technical Institute   Applications that do not fit the criteria   • MA Attorney General's Office                                   None.
Inc. (Lincoln Technical       below:                                      •Nelson v. Lincoln Technical Institute, Inc.
Institute)                    •Borrowers who enrolled between             •Evidence obtained by the Department in conjunction with
                              1/1/2007 and 12/31/2013, who                its regular oversight activities.
                              enrolled (a) at a campus in MA, CT, NJ      •Materials, including publicly available securities filings,
                              or OH; and (b) enrolled in a criminal       prepared by Lincoln Technical Institute, Inc.
                              justice or medical program (excluding
                              nursing or phlebotomy programs); and
                              •Borrowers who enrolled in an
                              electronic systems technology program
                              at the Columbia, MD campus between
                              2007 and 2013.
Star Career Academy (Star     Applications that do not fit the criteria   •Evidence obtained by the Department in conjunction with         •In 2018, the Department's program
Career Academy)               below:                                      its regular oversight activities                                 review found that Star Academy failed
                              •Borrowers who enrolled in a medical        •Publicly available records relating to Polanco v. Star Career   to provide, hands-on training to
                              program between 7/1/2009 and                Academy (N.J. Super. No. CAM-L-002565-19)                        student through externship
                              6/30/2011 at any campus; and                                                                                 experience during the 2009/2010 and
                              •Borrowers who enrolled in a surgical                                                                        2010/2011 school years at particular
                              technology program after 1/1/2011 at                                                                         locations.
                              a NJ campus.




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(School Name)               Not to be Within the Scope of the       Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                            Common Evidence listed in Column 3:     Department’s possession) including from the following        other entity 2 that the school made
                                                                    sources: 1                                                   misrepresentations or engaged in
                                                                                                                                 fraudulent conduct for which
                                                                                                                                 borrower defense relief may be
                                                                                                                                 granted:
The Infilaw System          •Borrowers who separated from the       • Evidence obtained by the Department in conjunction with    •In 2016, the Department sent
(Charlotte School of Law)   school before February 24, 2015.        its regular oversight activities                             Charlotte School of Law a notification
                                                                    • North Carolina DOJ                                         that it was denying its recertification
                                                                                                                                 based on its failure to comply with
                                                                                                                                 American Bar Association standards
                                                                                                                                 and substantial misrepresentations
                                                                                                                                 regarding the nature of its academic
                                                                                                                                 program. Specific findings include
                                                                                                                                 accreditation, academic program, and
                                                                                                                                 bar passage rate misrepresentations.




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Column 1                 Column 2                                Column 3                                                     Column 4
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(School Name)            Not to be Within the Scope of the       Common Evidence (i.e., relevant underlying evidence in the   the Department, an accreditor, or
                         Common Evidence listed in Column 3:     Department’s possession) including from the following        other entity 2 that the school made
                                                                 sources: 1                                                   misrepresentations or engaged in
                                                                                                                              fraudulent conduct for which
                                                                                                                              borrower defense relief may be
                                                                                                                              granted:
Westwood College         •Borrowers who enrolled in Westwood     •Evidence obtained by the Department in conjunction with     •In 2010, Texas Workforce
(Westwood College)       Illinois brick-and-mortar campuses      its regular oversight activities                             Commission imposed fines to
                         prior to May 1, 2004; or                •IL Attorney General’s Office                                Westwood Alta Colleges campuses in
                         •Borrowers who enrolled in Westwood     •Westwood internal training and policy documents             Texas for a pattern of noncompliance,
                         brick-and-mortar campuses in                                                                         citating "marketing and recruiting
                         California, Georgia, or Virginia.                                                                    related violations."

                                                                                                                              •In March 2011, the Department of
                                                                                                                              Veterans Affairs (VA) disqualified
                                                                                                                              three Westwood Texas campuses
                                                                                                                              from the GI Bill program, withdrawing
                                                                                                                              education benefits after finding that
                                                                                                                              each engaged in misleading and
                                                                                                                              deceptive marketing and enrollment
                                                                                                                              practices.




                                                                               14
